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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                Plaintiff,                            Case No. 17-cr-20183
                                                      Hon. Mark A. Goldsmith
 vs.


 DARRICK BELL, et al.,


             Defendants.
 ____________________________/

               ORDER REGARDING UPCOMING STATUS CONFERENCE

        On January 16, 2018, the Court conducted a telephonic status conference with counsel for

 all parties. The consensus from all parties was that the Court should await the Government’s

 production on February 14, 2018 of inculpatory evidence before developing a plan for Defendants’

 review of all other surveillance video. For that reason, the Court orders that a telephonic status

 conference will take place at 11:00 a.m. on March 20, 2018, at which time the parties will discuss

 proposals for the review of exculpatory video evidence. The Government will make necessary

 arrangements for the call and call chambers at 313-234-5240 once everyone is on the line.

        SO ORDERED.

 Dated: January 16, 2018                      s/Mark A. Goldsmith
 Detroit, Michigan                            MARK A. GOLDSMITH
                                              United States District Judge

                               CERTIFICATE OF SERVICE

 The undersigned certifies that the foregoing document was served upon counsel of record and any
 unrepresented parties via the Court's ECF System to their respective email or First Class U.S. mail
 addresses disclosed on the Notice of Electronic Filing on January 16, 2018.

                                              s/Karri Sandusky
                                                      Case Manager

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